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 1     DAVID CHIU, State Bar # 189542
       City Attorney
 2     YVONNE R. MERE, State Bar # 173594
       Chief Deputy City Attorney
 3     SARA J. EISENBERG, State Bar # 269303
       Chief of Complex & Affirmative Litigation
 4     JOHN H. GEORGE, State Bar # 292332
       Deputy City Attorneys
 5     Fox Plaza
       1390 Market Street, Sixth Floor
 6     San Francisco, CA 94102
       Telephone: 415.554.3597
 7     sara.eisenberg@sfcityatty.org

 8     Attorneys for Plaintiff The People of the State of
       California, acting by and through San Francisco
 9     City Attorney David Chiu

10     [Additional counsel appear on signature page.]

11
                                    UNITED STATES DISTRICT COURT
12
                                 NORTHERN DISTRICT OF CALIFORNIA
13
                                        SAN FRANCISCO DIVISION
14
15
       THE CITY AND COUNTY OF SAN                           Case No. 3:18-cv-07591-CRB-JSC
16     FRANCISCO, CALIFORNIA and THE
       PEOPLE OF THE STATE OF                               STATUS REPORT
17     CALIFORNIA, Acting by and through San
       Francisco City Attorney DAVID CHIU,                  Judge: Hon. Charles R. Breyer
18
                          Plaintiffs,                       Hearing Date: May 19, 2023
19
                 v.                                         Hearing Time: 10:00 a.m.
20
       PURDUE PHARMA L.P., et al.
21
                          Defendants.
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 1               Plaintiffs the City and County of San Francisco and the People of the State of California

 2    acting by and through San Francisco City Attorney David Chiu are pleased to announce a

 3    settlement resolving the People’s claims against Walgreens to provide funds for opioid

 4    abatement.

 5               Under the Settlement, Walgreens will pay $229,610,002, of which $200,000,000 will be

 6    dedicated to remediating the opioid epidemic in San Francisco. The majority of the funds,

 7    $207,610,002, will be paid in the first eight years with the remainder paid over the following

 8    seven years.

 9               This Settlement adds to San Francisco’s earlier-announced settlements with the Teva and

10    Allergan defendants, together valued at approximately $58 million. San Francisco is also

11    participating in all other national settlements with Opioids defendants, which are detailed at

12    nationalopioidsettlement.com.

13               Plaintiffs expect to file stipulated consent judgments in this Court for all three settlements

14    after the ordinances authorizing them are approved by the Board of Supervisors and signed into

15    law.

16               Plaintiffs wish to thank the Court, as well as Judge Corley, for their very significant

17    devotion of time and for their dedication to overseeing this important case.

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 1      DATED: May 17, 2023                   Respectfully submitted,
 2
        DAVID CHIU                            /s/ Elizabeth J. Cabraser
 3      City Attorney                         Elizabeth J. Cabraser
        YVONNE R. MERE                        Richard M. Heimann
 4      SARA J. EISENBERG                     Paulina do Amaral
        OWEN J. CLEMENTS                      Kevin R. Budner
 5      JAIME M. HULING DELAYE                Michael Levin-Gesundheit
        Deputy City Attorneys                 Jacob H. Polin
 6      Fox Plaza                             Miriam E. Marks
        1390 Market Street, Sixth Floor       LIEFF CABRASER HEIMANN &
 7      San Francisco, CA 94102               BERNSTEIN, LLP
        Telephone: 415/554-3957               275 Battery Street, 29th Floor
 8      jaime.hulingdelaye@sfcityatty.org     San Francisco, California 94111-3339
                                              Telephone: 415.956.1000
 9                                            Facsimile: 415.956.1008
                                              ecabraser@lchb.com
10
        Aelish M. Baig                        Paul J. Geller
11      Taeva C. Shefler                      Mark J. Dearman
        Hadiya K. Deshmukh                    Dorothy P. Antullis
12      ROBBINS GELLER RUDMAN & DOWD          Nicolle B. Brito
        LLP                                   ROBBINS GELLER RUDMAN & DOWD
13      Post Montgomery Center                LLP
        One Montgomery Street, Suite 1800     120 East Palmetto Park Road, Suite 500
14      San Francisco, CA 94104               Boca Raton, FL 33432
        Telephone: 415/288-4545               Telephone: 561/750-3000
15      415/288-4534 (fax)                    561/750-3364 (fax)
        aelishb@rgrdlaw.com                   pgeller@rgrdlaw.com
16      tshefler@rgrdlaw.com                  mdearman@rgrdlaw.com
        hdeshmukh@rgrdlaw.com                 dantullis@rgrdlaw.com
17                                            nbrito@rgrdlaw.com
18      X. Jay Alvarez                        Louise Renne
        Thomas E. Egler                       RENNE PUBLIC LAW GROUP
19      ROBBINS GELLER RUDMAN & DOWD          350 Sansome Street, Suite 300
        LLP                                   San Francisco, CA 94104
20      655 West Broadway, Suite 1900         Telephone: 415/848-7240
        San Diego, CA 92101                   415/848-7230 (fax)
21      Telephone: 619/231-1058               lrenne@publiclawgroup.com
        619/231-7423 (fax)
22      jaya@rgrdlaw.com
        tome@rgrdlaw.com
23
        Jennie Lee Anderson                   Kevin Sharp
24      ANDRUS ANDERSON LLP                   SANFORD HEISLER SHARP, LLP
        155 Montgomery Street, Suite 900      611 Commerce Street, Suite 3100
25      San Francisco, CA 94104               Nashville, TN 37203
        Telephone: 415/986-1400               Telephone: 615/434-7000
26      415/986-1474 (fax)                    615/434-7020 (fax)
        jennie@andrusanderson.com             ksharp@sanfordheisler.com
27      audrey.siegel@andrusanderson.com
28      Ellen Relkin                          David S. Casey, Jr.
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 1      WEITZ & LUXENBERG P.C.                        Gayle M. Blatt
        700 Broadway                                  Alyssa Williams
 2      New York, NY 10003                            CASEY GERRY SCHENK FRANCAVILLA
        Telephone: 212/558-5500                       BLATT & PENFIELD LLP
 3      212/344-5461 (fax)                            110 Laurel Street
        erelkin@weitzlux.com                          San Diego, CA 92101-1486
 4                                                    Telephone: 619/238-1811
                                                      619/544-9232 (fax)
 5                                                    dcasey@cglaw.com
                                                      gmb@cglaw.com
 6                                                    awilliams@cglaw.com
        Paul F. Novak
 7      Tiffany Ellis                                 Melinda Davis Nokes
        WEITZ & LUXENBERG, P.C.                       WEITZ & LUXENBERG P.C.
 8      24th Floor, The Fisher Building               1880 Century Park East
        3011 W. Grand Boulevard                       Los Angeles, CA 90067
 9      Detroit, Michigan 48202                       Telephone: 310/247-0921
        Tel: (313) 800-4170                           310/786-9927 (fax)
10      pnovak@weitzlux.com                           mnokes@weitzlux.com
        tellis@weitzlux.com
11
        Attorneys for Plaintiff The People of the
12      State of California, acting by and
        through San Francisco City Attorney
13      David Chiu

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